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                          IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF TEXAS

                                         LUFKIN DIVISION

JESSE MAY                                           §

VS.                                                 §            CIVIL ACTION NO. 9:20cv159

JAMES BLAKE                                         §

               MEMORANDUM OPINION AND ORDER REGARDING VENUE

        Plaintiff Jesse May, an inmate confined in the Ferguson Unit of the Texas Department of

Criminal Justice, Correctional Institutions Division, proceeding pro se, brings this civil rights action
pursuant to 42 U.S.C. § 1983 against James Blake, the warden of the Ferguson Unit.

                                                Analysis

        The Civil Rights Act, 42 U.S.C. § 1981, et. seq., under which this case is brought, does not

contain a specific venue provision. Accordingly, venue in civil rights cases is controlled by 28

U.S.C. § 1391. When, as in this case, jurisdiction is not founded solely on diversity of citizenship,

28 U.S.C. § 1391 provides that venue is proper only in the judicial district where the defendant

reside or in which the claim arose.

        Plaintiff complains of events which occurred at the Ferguson Unit, which is located in

Madison County, Texas. Pursuant to 28 U.S.C. § 124, Madison County is located in the Houston

Division of the Southern District of Texas. In addition, the defendant appears to reside in Madison

County.

        As Madison County is not located in the Eastern District of Texas, and as the defendant does

not reside in the Eastern District, venue in the Eastern District of Texas is not proper. When venue

is not proper, the court “shall dismiss, or if it be in the interest of justice, transfer such case to any

district or division in which it could have been brought.” 28 U.S.C. § 1406(a). The court is of the

opinion it would be in the interests of justice to transfer this case to the correct district.
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                                             ORDER

       Accordingly, it is ORDERED this case is transferred to the Houston Division of the United

States District Court for the Southern District of Texas.


        SIGNED this 2nd day of October, 2020.




                                                      _________________________
                                                      Zack Hawthorn
                                                      United States Magistrate Judge




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